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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION

       IN RE:                                          :       CHAPTER 13
       VANESSA NIECHELLE WINDHAM                       :       CASE NO.: A18-70257-JWC
             DEBTOR                                    :

          TRUSTEE’S MOTION TO CONVERT CASE TO ONE UNDER CHAPTER 7

       COMES NOW, NANCY J. WHALEY, Standing Chapter 13 Trustee in the above-referenced
matter, and files this Motion to Convert Case to One Under Chapter 7. The Trustee respectfully shows
the Court the following:
                                                     1.
       The Debtor filed for relief under Chapter 13 of Title 11 on December 3, 2018. The case was
confirmed on October 24, 2019. The plan, as proposed, provides for payments of $740.00 per month and a
one hundred percent (100%) dividend to unsecured creditors.
                                                     2.
       The Debtor’s mortgage holder, U.S. Bank National Association (hereinafter “U.S. Bank”), filed a
Motion for Relief from the automatic stay on December 19, 2019 on property located at 1974 Marvin Lane,
Atlanta, Georgia 30311 (hereinafter “the property”).
                                                     3.
       The Debtor scheduled an ownership interest in the property. The current fair market value of the
property is $168,150.00. The Debtor did not claim any exemption leaving unexempt equity in the property
of $75,691.00.
                                                     4.
       As of the date of this Motion, unsecured creditors have filed claims totaling $7,955.16.
                                                     5.
       The Trustee argues it is necessary to convert this case to one under Chapter 7 so to allow the
Chapter 7 Trustee to administer the property of the estate and assure the adequate protection of unsecured
creditors via liquidation of the Debtor’s real property. Allowance of the stay to be lifted so to permit U.S.
Bank to foreclose upon the property does not adequately protect unsecured creditors as the value realized
from such a sale is likely to be substantially diminished.
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                                                        6.
        Pursuant to 11 U.S.C. § 1307(c)(6), the Court may convert a case under Chapter 13 to one under
Chapter 7, or dismiss the case, whichever is in the best interest of creditors, based upon a “material default
by the debtor with respect to a term of a confirmed plan.” The Debtor has failed to maintain the payments
to U.S. Bank as provided under the terms of the confirmed plan, and thus a material default has occurred. It
is in the best interest of creditors to convert rather than dismiss for the reasons already specified by the
Trustee. U.S. Bank is adequately protected by the equity that exists in the property and the fact that any
eventual sale should satisfy their lien in full.
        WHEREFORE the Trustee prays that this Chapter 13 case be converted to one under Chapter 7 and
that a Chapter 7 Trustee be appointed for administration of the Debtor’s estate. The Trustee prays that the
conversion fee not be paid until the Court hears this matter and if the case is converted to one under
Chapter 7 that the Trustee be permitted to pay the fee with available funds in the Debtor’s case.


                                                   Respectfully submitted,


                                                   _/s/________________________
                                                   Julie M. Anania,
                                                   Attorney for Chapter 13 Trustee
                                                   GA Bar No. 477064
                                                   303 Peachtree Center Ave., NE
                                                   Suite 120
                                                   Atlanta, GA 30303
                                                   (678) 992-1201
/scw
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                                     CERTIFICATE OF SERVICE

Case No: A18-70257-JWC

This is to certify that I have this day served the following with a copy of the foregoing Chapter 13
Trustee's Motion to Convert This Case to one Under Chapter 7 by depositing in the United States mail
a copy of same in a properly addressed envelope with adequate postage thereon.

Debtor(s):                                         Creditor:
VANESSA NIECHELLE WINDHAM                          U.S. BANK NATIONAL ASSOCIATION
3651 PREAKNESS DRIVE                               C/O SELECT PORTFOLIO SERVICING, LLC
DECATUR, GA 30034                                  P.O. BOX 65450
                                                   SALT LAKE CITY, UT 84165

Office of the U.S. Trustee:                        Creditor Attorney:
OFFICE OF THE U.S. TRUSTEE                         ALDRIDGE PITE, LLP
ATTN: JENEANE TREACE                               FIFTEEN PIEDMONT CENTER
ATTN: DAVID WEIDENBAUM                             3575 PIEDMONT ROAD, NE
75 TED TURNER DRIVE, S.W.                          SUITE 500
SUITE 362                                          ATLANTA, GA 30305
ATLANTA, GA 30303



                        (ALL CREDITORS LISTED ON MAILING MATRIX)

I further certify that I have on this day electronically filed the foregoing Chapter 13 Trustee's Motion to
Convert Case to One under Chapter 7 using the Bankruptcy Court’s Electronic Case Filing program, which
sends a notice of this document and an accompanying link to this document to the following parties who
have appeared in this case under the Bankruptcy Court’s Electronic Case Filing program:

Attorney for the Debtor(s):
SLIPAKOFF & SLOMKA, PC



This the 25th day of June, 2020.



/s/____________________________________
Julie M. Anania
Attorney for the Chapter 13 Trustee
State Bar No. 477064
303 Peachtree Center Avenue, NE
Suite 120
Atlanta, GA 30303
678-992-1201
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Case 18-70257-jwc                                Piscataway, NJ 08854-4138                  Atlanta, GA 30309-1700
Northern District of Georgia
Atlanta
Wed Jun 24 14:44:18 EDT 2020
Andrea Lynn Betts                                (p)CAPITAL ONE                             Capital One Bank (USA), N.A.
RAS Crane, LLC                                   PO BOX 30285                               by American InfoSource as agent
Suite 170                                        SALT LAKE CITY UT 84130-0285               4515 N Santa Fe Ave
10700 Abbotts Bridge Road                                                                   Oklahoma City, OK 73118-7901
Duluth, GA 30097-8461

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15 Enterprise St                                 Padgett Law Group                          8014 Bayberry Rd
Aliso Viejo, CA 92656-2653                       Suite 203                                  Jacksonville, FL 32256-7412
                                                 6267 Old Water Oak Road
                                                 Tallahassee, FL 32312-3858

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Suite 1106                                       ARCS BANKRUPTCY                            Suite 203
Atlanta, GA 30303-3446                           1800 CENTURY BLVD NE SUITE 9100            6267 Old Water Oak Road
                                                 ATLANTA GA 30345-3202                      Tallahassee, FL 32312-3858

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Aldridge Pite, LLP                               401 West Peachtree Street, NW              McCalla Raymer Leibert Pierce, LLC
Suite 500, Fifteen Piedmont Center               Stop 334-D Room 400                        1544 Old Alabama Road
3575 Piedmont Road, N.E.                         Atlanta, GA 30308-3510                     Roswell, GA 30076-2102
Atlanta, GA 30305-1636

(p)JEFFERSON CAPITAL SYSTEMS LLC                 Richard B. Maner                           Ciro A. Mestres
PO BOX 7999                                      Richard B. Maner, P.C.                     McCalla Raymer Leibert Pierce, LLC
SAINT CLOUD MN 56302-7999                        Suite 200                                  1544 Old Alabama Road
                                                 180 Interstate N Parkway                   Roswell, GA 30076-2102
                                                 Atlanta, GA 30339-2106

Nationstar Mortgage LLC D/B/A Mr. Cooper         Nationstar Mortgage LLC d/b/a Mr. Cooper   Nationstar/mr Cooper
ATTN: Bankruptcy Dept                            RAS Crane LLC                              350 Highland
PO Box 619096                                    10700 Abbotts Bridge Road, Suite 170       Houston, TX 77009-6623
Dallas, TX 75261-9096                            Duluth, GA 30097-8461


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Tallahassee, FL 32312-3858                       Atlanta, GA 30339-3363
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Richmond, VA 23285-5526                              SUITE 200                                            Loganville, GA 30052
                                                     SAVANNAH GA 31401-2686


U.S. Bank National Association                       U.S. Bank Trust National Association                 U.S. Bank Trust National Association, not in
Select Portfolio Servicing, Inc.                     PO Box 814609                                        PO Box 814609
P.O. Box 65450                                       Dallas, TX 75381-4609                                Dallas, TX 75381-4609
Salt Lake City, UT 84165-0450


United States Attorney                               Wells Fargo Bank, N.A                                Wells Fargo Bank, N.A., et al
Northern District of Georgia                         Prober & Raphael, A Law Corp.                        c/o CARRINGTON MORTGAGE SERVICES, LLC
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Nancy J. Whaley                                      Vanessa Niechelle Windham                            Kristin A. Zilberstein
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Suite 120, Suntrust Garden Plaza                                                                          5501 LBJ Freeway
Atlanta, GA 30303-1216                                                                                    Dallas, TX 75240-6220



                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Capital One                                          Georgia Department of Revenue                        Jefferson Capital Syst
15000 Capital One Dr                                 1800 Century Blvd                                    16 Mcleland Rd
Richmond, VA 23238                                   Suite 17200                                          Saint Cloud, MN 56303
                                                     Atlanta, GA 30345


(d)Jefferson Capital Systems LLC                     TitleMax of Georgia, Inc.
Po Box 7999                                          15 Bull Street, Suite 200
Saint Cloud Mn 56302-9617                            Savannah, GA 31401




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)CARRINGTON MORTGAGE SERVICES, LLC                 (u)Fay Servicing, LLC                                (u)Select Portfolio Servicing Inc.




(u)U.S. Bank National Association                    (u)WELLS FARGO BANK, N.A.                            (du)WELLS FARGO BANK, N.A.
(du)Wells Fargo Case    18-70257-jwc
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